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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11    CALVIN LEONARD SHARP JR.,               Case No. 2:21-CV-08846 GW (KES)
12                         Petitioner,
                                                              JUDGMENT
13          v.
14    KEN CLARK, Warden,
15                         Respondent.
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18         Pursuant to the Court’s Order Summarily Dismissing Petition for Writ of
19   Habeas Corpus for Lack of Subject Matter Jurisdiction,
20         IT IS ADJUDGED that the Petition is dismissed without prejudice.
21
22   DATED: December 3, 2021
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24                                        ____________________________________
                                          GEORGE H. WU
25                                        UNITED STATES DISTRICT JUDGE
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